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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ------------------------------------------------------------------X
     JOANNE VEGA,
                                                                           Civ. No.: 19-cv-03237

                                        Plaintiff,
                                                                           AMENDED
             -against-                                                     COMPLAINT

     THE CITY OF NEW YORK,
     THE NEW YORK CITY DEPARTMENT                                 (JURY TRIAL DEMANDED)
     OF CORRECTION, CAPTAIN EDWICH
     JASMIN (Individually And In His Respective
     Capacity As An Acting Officer of the New
     York City Department of Correction),
     CAPTAIN LEON BRITTON (Individually
     And In His Respective Capacity As An
     Acting Officer of the New York City
     Department of Correction), KAREN
     TYSON and KENYATTA JOHNSON
     (Individually And In Their Respective
     Capacities as Executive Members of the
     New York City Department of Correction
     Union and Members of the New York
     City Department of Correction)


                                         Defendants.
     ------------------------------------------------------------------X

             Plaintiff, JOANNE VEGA (“Plaintiff” or “VEGA”), by and through her

     attorneys, L & D LAW P.C (Liggieri & Dunisha), complaining of Defendants, jointly

     and severally, herein respectfully shows to this Court and alleges the following:

                                       NATURE OF THE CASE

1.        This is an action to remedy discrimination based on gender discrimination, sexual

     harassment, disability discrimination, hostile work environment and retaliation is

     brought by Plaintiff Joanne Vega pursuant to the provisions of the Civil Rights Act of

     1866, and pursuant to Article I, §11 of the New York State Constitution for the violation

     of her due process and other constitutional rights to be free from gender discrimination,

     sexual harassment, disability discrimination, hostile work environment and retaliation.


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2.        Plaintiff also complains pursuant to Title VII of the Civil Rights Act of 1964 as

     amended, 42 U.S.C § 2000e et. Seq. (“Title VII”), and to remedy violations of the laws

     of the State of New York, based upon diversity and the supplemental jurisdiction of this

     Court pursuant to Gibb, 38 U.S. 715 (1966) and 28 U.S.C. § 1367, seeking relief and

     damages to redress the injuries Plaintiff has suffered as a result of being sexually

     harassed, discriminated and retaliated against by her employer on the basis of gender

     discrimination, sexual harassment and retaliation inflicted upon Plaintiff by Defendants

     GMVA.

3.        Defendants engaged in a pattern and practice of committing sexual harassment,

     and had prior knowledge of such acts before Plaintiff Joanne Vega was sexually

     harassed/assaulted.

                              JURISDICTION AND VENUE

4.        Jurisdiction of this Court is proper under 42 U.S.C. § 2000e-5(f)(3), and 28 U.S.C.

     §§ 1331 and the Civil Rights Act of 1866 and 1871 which give this Court jurisdiction

     for each statute; the damages; exclusive of interest and costs in this instance exceed that

     of all lower courts, and this Court’s pendent jurisdiction is also invoked.

5.        The unlawful employment practices alleged herein occurred wholly or in part, in

     the jurisdiction of the Eastern District of New York.

                                    JURY DEMAND

6.        Plaintiff hereby demands a trial by jury on all issues properly triable thereby.

                                        PARTIES

7.        Plaintiff Joanne VEGA is an individual woman who resides in the State of New

     York, Suffolk county.

8.        Defendant, The City of New York Department of Correction is a municipal

     corporation, incorporated in the State of New York. The causes of action in this case



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      arise within the County of Queens, County of New York and City of New York.

9.         The City of New York Department of Correction assumes the risk of its Captains

      and the employment of said Captains who act under the color of law as uniformed

      officers of the City of New York and its subsidiary agency, the Department of

      Correction.

10.        The Department of Correction City of New York has their headquarters at 75-20

      Astoria Blvd, East Elmhurst, NY 11370.

11.        At all relevant times, the City of New York acted through its agency, The New

      York City Department of Correction, to commit the acts alleged in this Complaint and

      were responsible for such acts.

12.        A substantial and significant portion of the events took place at Transportation

      Division, which is located at 1717 Hazen Street, East Elmhurst, New York, New York

      11370.

13.        At all times material, Plaintiff Joanne VEGA (hereinafter referred to as “VEGA”

      or “Plaintiff”) was and is a Corrections Officer, employed by the City of New York and

      it’s agency The New York City Department of Correction.

14.        At all times material, Defendant The New York City Department of Correction

      (hereinafter referred to as “DOC” is a municipal corporation, operating under the

      purview of the City of New York and duly existing by the virtue and laws of the State

      and City of New York. The DOC manages eleven inmate facilities in the City of New

      York throughout all five boroughs.

15.        At all times material, Defendants’ Employee Captain Edwich JASMIN

      (hereinafter referred to as “Defendant JASMIN”) is an individual man believed to

      reside in the State of New York.

16.        At all times material, Defendant JASMIN was and is the Personnel Administrative



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      Captain within the Department of Transportation at Defendant DOC.

17.        At all times material, Defendants’ employee Defendant JASMIN held supervisory

      authority over Plaintiff, controlling various tangible aspects of her employment, which

      included the power to hire and fire as well as take adverse actions against the Plaintiff.

18.        At all times material, Defendants’ Employee Captain LEON BRITTON

      (hereinafter referred to as “BRITTON”) is an individual man believed to reside in the

      State of New York.

19.        At all times material, Defendant BRITTON was and is Personnel Administrative

      Captain within the Department of Transportation at Defendant DOC.

20.        At all times material, Defendant BRITTON held supervisory authority over

      Plaintiff, controlling various tangible aspects of her employment, with the power to hire

      and fire her.

21.   At all times material, Defendant DOC’s employee Defendant Karen TYSON was and

      is an Executive Board Member of the Correction Officers Benevolent Association

      (C.O.B.A) and was at all times relevant, a colleague and friend to Defendant Captain

      JASMIN.

22.   At all times material, Defendant TYSON and JOHNSON worked in unison with the

      DOC to resolve disputes amongst officers, protect their employment interests and

      effectuate transfers.

23.   At all times material, Defendant DOC’s employee Defendant Johnson was and is an

      Executive Board Member of C.O.B.A., and was at all times relevant, a colleague and

      friend to Defendant Captain JASMIN.

                                     PROCEDURAL HISTORY

24.        On or about November 3, 2018, Plaintiff Vega filed a charge of sexual harassment,

      gender discrimination, and retaliation with the Equal Employment Opportunity



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      Commission (“EEOC”).

25.        On or about March 1, 2019, the EEOC issued a Right to Sue letter allowing the

      Plaintiff to file a lawsuit against the respondent(s) under federal laws in federal court.

26.        This lawsuit is being filed within receipt of the (90) day EEOC Right to Sue

      provision.

27.        On or about July 7, 2018, Plaintiff Vega filed a verified complaint of disability,

      sex, opposed discrimination/retaliation with the New York State Division of Human

      Rights (“Division”).

28.        During the Division’s investigation it was found that the Defendants did not

      mention a previously filed complaint against Defendant JASMIN on the basis of sex,

      discrimination and retaliation. The aforementioned Complaint, bearing striking

      similarities to Plaintiff Vega’s Complaint, alleged that the Complainant was subjected

      to incidents of isolated inappropriate touching, kissing and inappropriate comments by

      Defendant JASMIN, which placed the Department of Correction on notice and

      represents a pattern of unlawful behavior on the part of Defendant Jasmin in which the

      Department of Correction failed to take any remedial action.

29.        Upon information and belief, the Department of Correction and Defendant

      JASMIN were on notice that this type of behavior was unlawful and unacceptable, yet,

      the DOC still permitted Defendant JASMIN to work alongside female officers such as

      Plaintiff Vega.

30.        After investigation, the Division has determined that PROBABLE CAUSE exists

      to believe that the Defendants have engaged in or are engaging in the unlawful

      discriminatory practice complained of.

31.   On or about August 13, 2019, Administrative Law Judge, Michael T. Groben,

      acknowledged that Complainant’s claims of discrimination would be dismissed for



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      administrative convenience.

                                           FACTS


32.        In or around 1989, Defendants hired Plaintiff as a Probationary Correction Officer

      within the North Infirmary Command (NIC) at Rikers Island, wherein she first met

      JASMIN.

33.        In or around 2016, Plaintiff requested a transfer from NIC to the Transportation

      Division.

34.        In or around 2016, Plaintiff visited the Administration Office in Transportation,

      where she bumped into Defendant JASMIN, who she hadn’t seen in over twenty-seven

      years.

35.        Plaintiff and Defendant JASMIN greeted each other and spoke briefly and

      professionally.

36.        On or about October 31, 2016, Plaintiff was officially transferred to the

      Transportation Division. From then on, she regularly saw Defendant JASMIN.

37.        On or about March 22, 2017, as Plaintiff was walking through the corridor of the

      Dispatch and Administration Offices Defendant DOC’s Captain Defendant JASMIN

      ordered Plaintiff to the men’s locker room where he sexually assaulted the Plaintiff by

      forcing himself on the Plaintiff, groping her, and shoving his tongue in her mouth.

38.        Notably, the locker rooms commonly serve as recreation areas for both male and

      female officers during breaks where they converse with each other and/or watch

      television.

39.        When Plaintiff walked into the locker room, nobody was present except for

      Plaintiff’s supervisor, Defendant JASMIN.

40.        As Plaintiff had known Defendant JASMIN for over 27-years, she did not think

      anything of it as he had always been respectful up until that moment and Plaintiff felt


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      that there was a trust bond between them.

41.   In greater detail, the following unlawful and egregious sexual assault and harassment

      occurred:

42.       As soon as Plaintiff entered, Defendant JASMIN closed the door, grabbed

      Plaintiff’s shirt and pulled Plaintiff towards him.

43.       Defendant JASMIN, forcibly kissed Plaintiff, shoved his tongue in her mouth

      while grabbing and squeezing her breasts.

44.       Plaintiff immediately tried to push Defendant JASMIN away with her right

      arm.

45.       In response, Defendant JASMIN aggressively grabbed Plaintiff’s right hand

      and forced the Plaintiff to put her hand onto Defendant Jasmin’s crotch, directly

      on the spot where Defendant JASMIN’s penis was located.

46.       Gripping the Plaintiff’s hand even tighter, and refusing to let go, Defendant

      JASMIN told Plaintiff, “Feel how hard my dick is.”

47.       Plaintiff pulled away from Defendant JASMIN, told him “you’re fucking

      crazy!” and rushed away towards the door, running out of the immediate area

      feeling scared, angry, humiliated, and violated on so many levels.

48.       As Plaintiff was walking away from the scene, Defendant JASMIN threatened

      her angrily, “if I find out you ever went with someone else around here before

      you’re with me I will kill you.”

49.       There was no smile on Defendant JASMIN’s face, in fact, Plaintiff could see how

      angry he was that Plaintiff did not concede to his unwelcomed and unwanted predatory

      sexual advances.

50.       Defendant JASMIN’s egregious behavior left Plaintiff Vega in shock, in

      embarrassment, ashamed and afraid to tell anyone at work what just happened.



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51.        Defendant JASMIN sexually assaulted Plaintiff at headquarters, discriminated

      against her on the basis of her sex, and had threatened her life.

52.   As a direct result of this threat, Plaintiff Vega did not immediately go to authorities

      because she feared for her life.

53.        From that moment onward, Plaintiff felt extremely traumatized, humiliated, and

      in fear of both her safety and consequential retaliation if she were to report Defendant

      JASMIN’s sexual assault.

54.        Plaintiff did not speak with anyone at DOC that day, but she confided with her

      friend and ex-coworker Cesar COTTO where she told him everything that had

      happened but left out names.

55.        Officer COTTO was furious and pled for Plaintiff to tell him who this person was

      so he could help her. However, as Plaintiff was still under shock and was extremely

      afraid of retaliation, she did not tell him that it was Defendant JASMIN.

56.        Defendant JASMIN persisted in his predatory behavior against the Plaintiff.

      Defendant JASMIN continued to frequently make lewd and sexual facial expressions

      at the Plaintiff which included but was not limited to (i) sticking his tongue out like a

      snake while he acted out sexual acts with his tongue and (ii) making a number of lewd

      remarks to the Plaintiff as he scanned Plaintiff’s body up and down with his eyes.

57.        In or around June of 2017, Plaintiff finally gathered up all her courage and tried

      telling a Department of Correction EEO Investigator Alice PUTINO but Plaintiff was

      so frightened of losing her job and the possibility of Defendant JASMIN physically

      attacking her that Plaintiff reluctantly cancelled the appointment she had made with

      Ms. PUTINO, telling her “I’m sorry I wasted your time” and left without telling her

      anything.

58.        However, following Defendant JASMIN’s sexual assault on Plaintiff, Defendant



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      JASMIN sexually harassed Plaintiff on a pervasive basis.

59.        Defendant JASMIN frequently scanned Plaintiff’s body up and down as she

      passed him, repeatedly stopping her to make sexual propositions such as “let’s go to a

      motel.”

60.        At all times material, Plaintiff responded “No!” Despite her clear objections,

      Defendant JASMIN continued to sexually harass Plaintiff.

61.        On or about September 13, 2017, Plaintiff applied for a transfer and left the form

      in the possession of Mr. Elias Husamudeen’s Office, the President of the Correction

      Officers Benevolent Association Office (“COBA”). However, Mr. Husamudeen

      ignored Plaintiff’s request.

62.        In or around October of 2017, Plaintiff inquired as to what was going on with her

      transfer request, but nobody was giving her any answers.

63.        On or about November 3, 2017, as Plaintiff could no longer take Defendant

      JASMIN’s unethical, unprofessional and flat out criminal behavior, Plaintiff hoped that

      by speaking with the Executive Officers of her Union, Defendant JASMIN’s actions

      would finally stop.

64.        The feeling of resentment, depression and the loss of dignity made Plaintiff come

      forward and visit her Union, the 21st COBA Office, to speak with Executive Officers’

      Karen TYSON and Kenyatta JOHNSON.

65.        When Plaintiff reported Defendant JASMIN’s sexual assault on her in the locker

      room, Mrs. TYSON responded, “Captain Jasmin is a very close friend of mine.”

66.        Plaintiff further stated that she wanted COBA executives to intervene and demand

      that Defendant JASMIN’s unlawful behavior come to an end.

67.        TYSON and JOHNSON refused to discipline Defendant JASMIN or even

      confront him about the assault and sexual harassment. In fact, Defendant TYSON then



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      stated to Plaintiff that: “Unless you go to the NYC Police Department (NYPD), you

      will get no help from either Ms. Johnson or me; or the COBA union for that

      matter.”

68.        Plaintiff clearly expressed that she went to them for the specific reason of not

      wanting to go public, because Plaintiff feared retaliation, as she had personally

      witnessed this kind of behavior from DOC Supervisors against Corrections Officers.

69.   Plaintiff made a protected Complaint regarding sex, gender, and a hostile work

      environment to Defendants TYSON and JOHNSON, hoping they would take some

      form of action to assist the Plaintiff.

70.        Plaintiff then advised Defendant TYSON and Defendant JOHNSON that she

      wanted to be transferred in order to get away from Defendant JASMIN.

71.   Plaintiff further advised Defendant TYSON and Defendant JOHNSON that she desired

      for Defendant JASMIN to be called in so that the union could mediate and resolve the

      situation between Plaintiff and Defendant JASMIN. TYSON and JOHNSON refused.

72.   During the meeting with TYSON and JOHNSON advised Plaintiff that they would call

      over to the DOC Transportation Department Warden.

73.   During this meeting, TYSON and JOHNSON made a phone call in front of the Plaintiff

      to the Transportation Division Facility Commander and advised of the Plaintiff’s

      protected complaints and the desire for a transfer.

74.   As it was commonly known within the DOC, TYSON and JOHNSON had effectuated

      a number of transfers for DOC Officers and had the power to do so.

75.   As Officers of COBA, and as DOC Officers, both TYSON and JOHNSON had the

      fiduciary duty to protect the Plaintiff and to communicate with the correct channels at

      the DOC so that Plaintiff would not be further retaliated against.

76.        However, upon information and belief, Mrs. TYSON and Mrs. JOHNSON refused



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      to help the Plaintiff. In fact, they went ahead and warned Defendant JASMIN that

      Plaintiff had complained to them about his unlawful behavior, thus aiding and abetting

      in JASMIN’S discriminatory and retaliatory conduct and depriving the Plaintiff of her

      due process rights.

77.   Upon further information and belief, TYSON and JOHNSON also had knowledge of

      prior alleged bad acts, of a similar nature, which were filed against Defendant JASMIN.

78.   Upon information and belief, when disciplinary action is taken against a DOC Officer

      such as Defendant JASMIN, COBA is informed of such charges and must maintain

      records which reflect the same.

79.        Plaintiff knew immediately right when Defendant JASMIN was made aware of

      Plaintiff’s complaints because Defendant JASMIN’s demeanor, behavior and

      mannerisms toward Plaintiff changed from sexual gestures into violent and public

      displays of intimidation.

80.        Defendant JASMIN would now constantly give Plaintiff murderous glares every

      chance he saw Plaintiff. Defendant JASMIN was informing Plaintiff that he knew what

      she did, with looks not words.

81.        Plaintiff made every diligent effort to avoid confronting Defendant JASMIN while

      at work as much as possible.

82.        Throughout September to November Plaintiff tried on several occasions, to call

      the COBA President Mr. Elias Husamudeen, to request a transfer.

83.        Plaintiff again asked Defendant TYSON and Defendant JOHNSON for a transfer

      out of the Transportation Division considering her situation, but they again refused to

      help the Plaintiff.

84.   The above actions by Defendants show that they failed to investigate or take any

      remedial measures to support the Plaintiff. Instead, Defendants left the Plaintiff with



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      her attacker and took steps in furtherance of a conspiracy whereby the Plaintiff was

      deprived of her Constitutional rights.

85.        COBA employees did not care that Plaintiff was being discriminated against, since

      Defendant JASMIN was their “Friend.”

86.        Plaintiff’s protected complaints went on deaf ears.

87.        Plaintiff now knew/understood that going to COBA and asking for help was a huge

      mistake as Defendant JASMIN was immediately put on notice about Plaintiff’s

      complaints from his friends.

88.        Plaintiff’s previous fear of retaliation was now becoming very real.

89.        Plaintiffs problems at work compounded, when on or about January 10, 2018,

      Plaintiff was involved in a work-related auto accident as a passenger in her official

      DOC vehicle.

90.        Plaintiff’s DOC bus was t-boned by another vehicle causing the Plaintiff, who was

      the recording officer, to fall out of her seat and hit the cage in front of her.

91.   As a result of the accident, Plaintiff sustained multiple injuries to her legs, back and

      shoulders.

92.        Soon thereafter, Plaintiff was taken to Mount Sinai Hospital Emergency Room.

93.        Following Plaintiff’s accident, Plaintiff was out of work on Worker’s Comp for

      approximately three and a half months

94.        Plaintiff suffered and stills suffers from whiplash, swollen kidneys, and several

      herniated discs throughout her neck and back, requiring her to undergo ongoing

      physical therapy as well as epidural and cortisone shots for her severe lower back pain.

      In addition, Plaintiff suffered, and still suffers from severe loss of mobility.

95.        During these three and a half months, while Plaintiff was still recovering,

      Defendants served her with three Memorandum of Complaints (MOC’s), which is the



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       DOC’s technical terminology used to describe disciplinary charges.

96.         These charges originate from the Administrative Office of the Transportation

       Division. Plaintiff is assigned to the Transportation Division. Notably, the

       Administrative Captain of said office where the complaints (MOC’S) originated

       from, is the very Captain that assaulted Plaintiff; Defendant Captain JASMIN.

97.    Defendant Jasmin personally signed the documents and served them on the

       Plaintiff.

98.         The totality of the circumstances as cited above make clear that Defendant

       JASMIN was intentionally discriminating and retaliating against her for making

       protected complaints regarding Defendant JASMIN’s unlawful behavior.

99.         After being served with the MOC, Plaintiff reached out to COBA and spoke with

       Senior Attorney Steve Issacs whom informed Plaintiff that it was unusual to have been

       served with this many MOC’s at such an early period.

100.   Mr. Isaac also informed Plaintiff that these MOC’s would usually be served when it

       was closer to the year and that there is also an 18-month clause in relation to being

       terminated. Therefore, it was out of the ordinary for Defendants to serve the Plaintiff

       with the aforementioned disciplinary charges.

101.   Mr. Isaac then instructed Plaintiff to sign the MOC disciplinary charges and mail them

       back to the DOC’s Trials and Litigation Bureau.

102.   Finally, Mr. Isaac told Plaintiff that after she is served to go to OATH (the DOC’s

       Disciplinary Trial Division) that she should seek legal counsel.

103.        Plaintiff was involved in an automobile accident through no fault of her own and

       was under medical care, treatment and supervision. Plaintiff was instructed by her

       doctors to take physical therapy and remain home to heal from her injuries.

104.        However, after serving Plaintiff with the three MOC’s Defendant JASMIN made



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       it very clear to Plaintiff that these charges could lead to her termination.

105.        Defendant JASMIN took this opportunity to retaliate against Plaintiff for

       complaining about the sexual harassment/assault, to inflict more fear and now, to

       discriminate against Plaintiff on the basis of her disability.

106.        On or about March 28, 2018, upon Plaintiff’s return to work after sick leave, the

       Plaintiff was placed back into the DOC’s Transportation Division on Medically

       Monitored Restriction (MMR) Level III Status.

107.   The aforementioned work status was issued to her by the DOC’s Health Management

       Division (H.M.D.)

108.        Plaintiff tried to return to work but the pain was unbearable. Due to severe back

       pains, Plaintiff left work in early April.

109.        On or about June 18, 2018, Plaintiff returned to work in the DOC’s Transportation

       Division.

110.        On or about June 20, 2018, Defendant JASMIN and the DOC Acting Warden

       VANESSA WILLIAMS, with a smirk on their face, served Plaintiff with another write-

       up which stated in sum and substance that Plaintiff would receive a “Designation of

       Chronic Absent.”

111.        Plaintiff was then served with 3 MOC’s stating “abusive absenteeism” after

       leaving on workers’ compensation to care for her injuries and again was served with

       Chronic Sick designation after she returned on light duty.

112.   In total, Defendant JASMIN and other Defendants served the Plaintiff with four MOCS.

113.        However, Plaintiff was not abusing the so-called “system.” Rather, Plaintiff was

       hurt and was still getting care of her injuries.

114.   Upon information and belief, similarly situated employees in the Plaintiff’s position

       that had not made any protected complaints, were able to take time off for work-related



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       injuries and were not served with any disciplinary charges.

115.        Defendants’ employee Defendant JASMIN retaliated against Plaintiff for

       reporting his unlawful sexual assault and harassment as well as discriminated against

       Plaintiff on the basis of her disability.

116.        On or about July 2, 2018, Plaintiff immediately submitted an appeal within the

       (20) day provision via a 600AR Intradepartmental Memorandum supported by her

       medical documentation.

117.        In or around this same time period, when Plaintiff inquired of Defendant JASMIN

       as to why she was wrongfully disciplined, Defendant JASMIN replied, “you know

       what you put me through?”

118.        Defendant DOC’s Employee Defendant JASMIN blatantly admitted to retaliating

       against Plaintiff for reporting his sexual assault and unlawful behavior.

119.        Shortly thereafter, on or about July 13, 2018, without provocation and/or cause,

       the Defendants administratively transferred temporarily (“T.D.Y.”) the Plaintiff to the

       Correction Academy (C.A.). While at the academy Plaintiff was served by the Academy

       Tour Commander with a fourth disciplinary MOC; Charges of Violating Sick Leave

       Directive 2258R-A and Directive 2262.

120.        The MOC charges are separate and apart from the Chronic Sick Designation

       paperwork that Defendant Jasmin signed and served to the Plaintiff while at the

       Transportation Division.

121.        On or about July 14, 2018, Plaintiff returned to Full Duty to the Transportation

       Division, at her regular post. However, her steady partner Officer Joseph Mascia to

       which Plaintiff had been paired/assigned to work with since June 2017, was adversely

       removed from said post.

122.        Both DOC Officer Mascia and Plaintiff inquired with Defendants as to why



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       removal from said post occurred but were given no explanation as to why this occurred.

123.        Plaintiff inquired specifically with Defendant JASMIN about said removal to

       which he responded: “You’ll get over it” and walked away. This was not corrected until

       the complaint went to DOC Personnel.

124.        On or about July 25, 2018, after gathering all the courage she could, Plaintiff went

       to the NYPD’s 114th Police Precinct to file a Sexual Harassment/Assault Complaint

       against Defendant JASMIN, as was suggested to Plaintiff by Defendants’ JOHNSON

       and TYSON.

125.   Despite filing such a police report against JASMIN, as advised by JOHNSON and

       TYSON; JOHNSON and TYSON still took no action to enforce a transfer or take any

       corrective action as against JASMIN.

126.        Furthermore, in or around July 2018, Plaintiff filed complaints with the New York

       State Division of Human Rights, the Federal EEOC, as well as an official internal EEO

       complaint and Work Violence Complaint within the Department of Corrections.

127.        Yet, no corrective or reasonable action has been taken to assist the Plaintiff.

       Defendant JASMIN is still employed at Defendant DOC and Plaintiff’s transfer request

       has remained ignored.

128.        Upon information and belief, Defendant Captain JASMIN in coordination with

       Defendant Captain BRITTON, recommended the Plaintiff to the DOC’S Trials and

       Litigation Division, in an attempt to force a tangible employment action upon the

       Plaintiff by stripping the Plaintiff of vacation and/or sick days.

129.        The Plaintiff further made internal and external EEO and protected complaints

       regarding the following altercation.

130.        Plaintiff Vega called Defendant Captain BRITTON for assistance and asked

       Defendant Captain BRITTON to come to the location and have the inmate moved to



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       the back of the bus.

131.   Upon information and belief, Defendant BRITTON and Defendant JASMIN were and

       remain good friends.

132.        Defendant BRITTON hesitated, delayed his response time, and upon arrival to

       Plaintiff’s location, Defendant BRITTON refused to help the Plaintiff stating: “I refuse

       to get involved.”

133.        Defendant BRITTON neglected Plaintiff’s pleas for help and stated: “Get back

       in the bus and proceed with your run!”

134.        Defendant BRITTON’s orders subjected Plaintiff to more hostility and threats by

       the inmate along with the possibility that the inmate would throw human feces at

       Plaintiff.

135.        As the inmate saw that the Plaintiff got no support or respect from her Supervisor

       Defendant Captain BRITTON, the inmate said: “Yea bitch, that’s what you get!”

136.        As Plaintiff proceeded to drive on her route, while turning the corner, her Partner

       DOC Officer Mascia called out: “He’s going to do it!”

137.        When the Plaintiff turned around, she saw the inmate with his pants down and his

       buttocks pressed against the plexiglass in a squatted position ready to release onto

       Plaintiff.

138.        Since Defendant BRITTON refused to help the Plaintiff, was deliberately

       indifferent towards Plaintiff’s situation, and in fact subjected her to this vile treatment,

       Plaintiff pulled over the DOC bus and called the dispatch again to ask for DOC Captain

       Williams.

139.        Dispatch advised the Plaintiff that Captain Williams was not in the vicinity.

140.   As a result, Defendants transferred the Plaintiff to Defendant BRITTON, who began

       ordering Plaintiff to return to the bus. Other officers from the dispatch heard this as well



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       but told Plaintiff to wait for Captain Williams.

141.        While Plaintiff was waiting for Captain Williams, Defendant BRITTON was

       calling the Plaintiff consistently on the radio, ordering Plaintiff to go back onto the bus

       and proceed with her run.

142.        Soon thereafter, Captain Williams appeared at Plaintiff’s location, and she

       immediately asked Plaintiff “Don’t you hear Captain BRITTON calling you on the

       radio?”

143.   Plaintiff started explaining the situation to her regarding the inmate and Defendant

       BRITTON’s disregard for the Plaintiff’s safety. Captain Williams then responded to

       the Plaintiff by stating: “You know what, put it on paper.”

144.        Plaintiff was very frustrated and suffered from severe emotional distress because

       DOC supervisors refused to assist her.

145.        Captain Williams permitted the Plaintiff to be removed from this run, however she

       advised the Plaintiff and stated that it would be “a while” before Plaintiff would be able

       to assume her next post.

146.        Plaintiff was then ordered to write a report.

147.        On or about August 15, 2018, on Plaintiff’s ordered report she writes: “I feel as if

       I am intentionally being retaliated against for an unrelated matter to this situation.

       I feel that I am in a hostile situation that is unhealthy and fearful to be in.

       I am asking for HELP.”

148.        Upon further information and belief, Defendant JASMIN and BRITTON’S

       retaliatory acts came only in the wake of protected complaints of sexual assault and

       harassment. Despite providing proper medical documentation to the Defendants,

       Plaintiff is still being threatened with having sick and/or vacation days stripped away.

149.        In fact, Plaintiff Vega was referred to the disciplinary committee where



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       Defendants attempted to strip the Plaintiff of sick/vacation days.

150.        Upon information and belief, referral for such discipline was ordered by Defendant

       Captain JASMIN and his co-conspirators.

151.        No other DOC employees that are similarly situated to the Plaintiff were treated

       in such a manner.

152.        However, after Plaintiff’s counsel informed opposing counsel of a pending EEOC

       Charge, some of the charges coincidentally disappeared.

153.        The above are just some of the examples of the negligent retention, hostile work

       environment, gender discrimination, disability discrimination, sexual assault and sexual

       harassment to which Defendants subjected Clamant.

154.        Plaintiff VEGA suffered and will continue to suffer anxiety, depression, and

       significant emotional distress, as a direct result of Defendant’s Employee JASMIN’s

       sexual assault, sexual harassment and discrimination.

155.        Defendants’ actions and conduct were intentional and intended to harm Plaintiff.

156.        As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

       victimized, embarrassed, and emotionally distressed.

157.        As a result of the acts and conduct complained of herein, Plaintiff has suffered and

       will continue to suffer the loss of possible promotions and other compensation which

       such employment entails and Plaintiff has also suffered future pecuniary losses,

       emotional pain, suffering, inconvenience, loss of enjoyment of life, and other non-

       pecuniary losses. Plaintiff has further experienced severe emotional distress.

158.        As a result of the above, Plaintiff has been damaged in an amount which exceeds

       the jurisdiction of all lower Courts.

159.   As Defendant’s conduct has been malicious, willful, outrageous, and conducted with

       full knowledge of the law. As such, the Plaintiff demands Punitive Damages as against



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       all the Defendants, jointly and severally.



                            AS AND FOR A FIRST CAUSE OF ACTION
                              DISCRIMINATION UNDER TITLE VII
                                (Not Against Individual Defendants)

160.        Plaintiff repeats and realleges each and every allegation made in the above

       paragraphs of this complaint.

161.        Title VII states in relevant part as follows:

                      (a) Employer practices:

                      It shall be an unlawful employment practice for an employer:

                      (1) to fail or refuse to hire or to discharge any individual, or otherwise
                      to discriminate against any individual with respect to his compensation,
                      terms, conditions, or privileges of employment, because of such
                      individual’s race, color, religion, sex, or national origin;


162.        This claim is authorized and instituted pursuant to the provisions of Title VII of

       the Civil Rights Act of 1964, 42 U.S.C. Section(s) 2000e et seq., as amended, for relief

       based upon the unlawful employment practices of the above-named Defendants.

       Plaintiff complains of Defendants’ violation of Title VII's prohibition against

       discrimination in employment based, in whole or in part, upon an employee's sex.

163.        Defendants engaged in unlawful employment practices prohibited by 42 U.S.C.

       2000e et seq., by discriminating against Plaintiff as set forth herein.

                               AS A SECOND CAUSE OF ACTION FOR
                                DISCRIMINATION UNDER TITLE VII
                                  (Not Against Individual Defendant)

164.        Plaintiff repeats and realleges each and every allegation made in the above

       paragraphs of this complaint.

165.        Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e-3(a)

       provides that it shall be unlawful employment practice for an employer: “(1) to . . .



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       discriminate against any of his employees . . . because she has opposed any practice

       made an unlawful employment practice by this subchapter, or because she has made a

       charge, testified, assisted or participated in any manner in an investigation, proceeding,

       or hearing under this subchapter.”

166.        Defendants engaged in unlawful employment practices prohibited by 42 U.S.C.

       2000e seq. by discriminating against Plaintiff with respect to the terms, conditions or

       privileges of employment because of her opposition to the unlawful employment

       practices of Defendants.

                             AS A THIRD CAUSE OF ACTION FOR
                               DISCRIMINATION UNDER THE
                           NEW YORK CITY ADMINISTRATIVE CODE
                              (Not Against Individual Defendants)

167.        Plaintiff repeats, reiterates and realleges each and every allegation made in the above

       paragraphs of this Complaint as if more fully set forth herein at length.

168.        The Administrative Code of City of NY § 8-107 [1] provides that "It shall be an unlawful

       discriminatory practice: "(a) For an employer or an employee or agent thereof, because of the

       actual or perceived age, race, creed, color, national origin, gender, disability, marital status,

       sexual orientation or alienage or citizenship status of any person, to refuse to hire or employ

       or to bar or to discharge from employment such person or to discriminate against such person in

       compensation or in terms, conditions or privileges of employment."

169.        Defendants engaged in an unlawful discriminatory practice in violation of New York

       City Administrative Code Title 8, §8-107(l)(a) by creating and maintaining discriminatory

       working conditions, and otherwise discriminating against the Plaintiff as set forth herein.


                             AS A FOURTH CAUSE OF ACTION FOR
                                   DISCRIMINATION UNDER THE
                            NEW YORK CITY ADMINISTRATIVE CODE
                                  (Not Against Individual Defendants)

170.        Plaintiff repeats, reiterates and realleges each and every allegation made in the above


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       paragraphs of this Complaint as if more fully set forth herein at length.

171.        The New York City Administrative Code Title 8, §8-107(l)(e) provides that it shall be

       unlawful discriminatory practice: "For an employer... to discharge ... or otherwise discriminate

       against any person because such person has opposed any practices forbidden under this

       chapter..."

172.        Each of the Defendants engaged in an unlawful discriminatory practice in violation of

       New York City Administrative Code Title 8, §8-107(l)(e) by discriminating against the

       Plaintiff because of Plaintiffs opposition to the unlawful employment practices of Plaintiffs

       employer.

                           AS A FIFTH CAUSE OF ACTION FOR
                             DISCRIMINATION UNDER THE
                        NEW YORK CITY ADMINISTRATIVE CODE
                              (As Against Individual Defendants)

173.        Plaintiff repeats, reiterates and realleges each and every allegation made in the above

       paragraphs of this Complaint as if more fully set forth herein at length.

174.        New York City Administrative Code Title 8-107(19) Interference with protected rights. It

       shall be an unlawful discriminatory practice for any person to coerce, intimidate, threaten or

       interfere with, or attempt to coerce, intimidate, threaten or interfere with, any person in the

       exercise or enjoyment of, or on account of his or her having aided or encouraged any other person

       in the exercise or enjoyment of, any right granted or protected pursuant to this section.

175.        Defendants violated the section cited herein as set forth.

                           AS A SIXTH CAUSE OF ACTION FOR
                             DISCRIMINATION UNDER THE
                        NEW YORK CITY ADMINISTRATIVE CODE
                                (As Against Individual Defendants)

176.        Plaintiff repeats and realleges each and every allegation made in the above

       paragraphs of this complaint.

177.        The New York City Administrative Code Title 8, §8-107(6) provides that it shall


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       be unlawful discriminatory practice: "For any person to aid, abet, incite, compel; or

       coerce the doing of any of the acts forbidden under this chapter, or attempt to do so."

178.        Defendants engaged in an unlawful discriminatory practice in violation of New

       York City Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting,

       compelling and coercing the above discriminatory, unlawful and retaliatory conduct.


                          AS A SEVENTH CAUSE OF ACTION FOR
                                RETALIATION UNDER THE
                         NEW YORK CITY ADMINISTRATIVE CODE
                              (As Against Individual Defendants)

179.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

       paragraphs of this Complaint as if more fully set forth herein at length.

180.   It shall be an unlawful discriminatory practice for any person engaged in any activity

       to which this chapter applies to retaliate or discriminate in any manner against any

       person because such person has (i) opposed any practice forbidden under this chapter,

       (ii) filed a complaint, testified or assisted in any proceeding under this chapter, (iii)

       commenced a civil action alleging the commission of an act which would be an

       unlawful discriminatory practice under this chapter, (iv) assisted the commission or the

       corporation counsel in an investigation commenced pursuant to this title, (v) requested

       a reasonable accommodation under this chapter, or ([v]vi) provided any information to

       the commission pursuant to the terms of a conciliation agreement made pursuant to

       section 8-115 of this chapter.

181.   Defendants engaged in an unlawful discriminatory practice of retaliating against the

       Plaintiff in accordance with the above cited statute under 8-107 (7).

                        AS AN EIGHTH CAUSE OF ACTION FOR
                           DISCRIMINATION UNDER THE
                      NEW YORK CITY ADMINISTRATIVE CODE
                           (Not Against Individual Defendants)

182.        Plaintiff repeats, reiterates and realleges each and every allegation made in the above


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       paragraphs of this Complaint as if more fully set forth herein at length.

183.        New York City Administrative Code Title 8-107(13) Employer liability for discriminatory

       conduct by employee, agent or independent contractor.


                   a. An employer shall be liable for an unlawful discriminatory practice based upon

                       the conduct of an employee or agent which is in violation of any provision of

                       this section other than subdivisions one and two of this section.

                   b. An employer shall be liable for an unlawful discriminatory practice based upon

                       the conduct of an employee or agent which is in violation of subdivision one or

                       two of this section only where:
                       (1) the employee or agent exercised managerial or supervisory responsibility;
                       or

                       (2) the employer knew of the employee's or agent's discriminatory conduct, and

                       acquiesced in such conduct or failed to take immediate and appropriate

                       corrective action; an employer shall be deemed to have knowledge of an

                       employee's or agent's discriminatory conduct where that conduct was known

                       by another employee or agent who exercised managerial or supervisory

                       responsibility; or


                       (3) the employer should have known of the employee's or agent's

                       discriminatory conduct and failed to exercise reasonable diligence to prevent

                       such discriminatory conduct.

184.        Defendants violated the section cited herein as set forth.

                                  AS A NINTH CAUSE OF ACTION
                                  FOR DISCRIMINATION UNDER
                                           STATE LAW
                                (Not Against Individual Defendants)

185.        Executive Law § 296 provides that "1. It shall be an unlawful discriminatory practice:

       "(a) For an employer or licensing agency, because of an individual's age, race, creed, color,


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       national origin, sexual orientation, military status, sex, disability, predisposing genetic

       characteristics, marital status, or domestic violence victim status, to refuse to hire or employ or

       to bar or to discharge from employment such individual or to discriminate against such

       individual in compensation or in terms, conditions or privileges of employment."

186.        Defendants engaged in an unlawful discriminatory practice by discriminating against the

       Plaintiff as set forth herein.

187.        Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs

       of Executive Law Section 296.

                                  AS A TENTH CAUSE OF ACTION FOR
                                  DISCRIMINATION UNDER STATE LAW
                                      (As Against Individual Defendants)


188.        Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this complaint.

189.        New York State Executive Law §296(7) provides that it shall be an unlawful

       discriminatory practice:

            For any person engaged in any activity to which this section applies to retaliate or

            discriminate against any person because [s]he has opposed any practices forbidden

            under this article."

190.        Defendants engaged in an unlawful discriminatory practice by discharging, retaliating,

       and otherwise discriminating against the Plaintiff because of Plaintiff s opposition to the

       unlawful employment practices of Plaintiff s employer.

                              AS AN ELEVENTH CAUSE OF ACTION
                         FOR DISCRIMINATION UNDER STATE LAW
                                (As Against Individual Defendants)

191.        Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

       this complaint.

192.        New York State Executive Law §296(6) provides that it shall be an unlawful


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       discriminatory practice:

            "For any person to aid, abet, incite compel or coerce the doing of any acts forbidden under

            this article, or attempt to do so."

193.        Defendants engaged in an unlawful discriminatory practice in violation of New York

       State Executive Law §296(6) by aiding, abetting, inciting, compelling and coercing the

       discriminatory conduct.

                          AS A TWELTH CAUSE OF ACTION
                   VIOLATION OF RIGHTS SECURED BY 42 U.S.C. §1983
                           (Against All City/DOC Defendants)

194.        Plaintiff incorporates all preceding paragraphs of this Complaint as if fully restated

       herein.

195.   42 U.S.C. § 1983 provides that:

           Every person, who under color of any statute, ordinance, regulation, custom or
           usage of any state or territory or the District of Columbia subjects or causes to be
           subjected any citizen of the United States or other person within the jurisdiction
           thereof to the deprivation of any rights, privileges or immunities secured by the
           constitution and law shall be liable to the party injured in an action at law, suit in
           equity, or other appropriate proceeding for redress . . .

196.        In committing the acts of discrimination and retaliation complained of herein, the

       Defendants acted jointly and under color of state law to deprive Plaintiff Vega of her

       clearly established constitutionally protected rights under the Fourteenth Amendment

       of the United States Constitution.

197.        Plaintiff in this action is a citizen of the United States and all of the individual

       Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

198.        An employee may bring a retaliation claim under §1983 against a supervisor who,

       acting under color of law, retaliates against her for opposing discrimination in the terms

       of her employment.

199.        Defendants violated the above statute through multiple acts of unlawful gender

       and disability discrimination, sexual harassment, and retaliation.


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                         AS A THIRTHTEETH CAUSE OF ACTION
           (Individual Supervisory Liability - 42 U.S.C. § 1983-As Against City/DOC
                                          Individuals)

200.          Plaintiff incorporates all preceding paragraphs of this Complaint as if fully restated

       herein.

201.          Individual Defendant Captain JASMIN, was at all relevant times, a Personnel

       Administrative Captain within the Department of Transportation at Respondent DOC.,

       with oversight responsibility for the training, instruction and supervision of the

       Plaintiff.

202.          Defendant Captain JASMIN knew or should have known that his individual

       actions against the Plaintiff violated the United States Constitution.

203.          Defendant Captain JASMIN, as the supervisory Captain of the DOC, acted in

       unlawful discrimination and retaliation against Plaintiff VEGA which was based on the

       Plaintiff’s sex and gender.

204.   Defendant Captain JASMIN directly participated in the unlawful constitutional

       violation against the Plaintiff by sexually assaulting and harassing the Plaintiff and then

       later by personally retaliating or forcing others to retaliate against Plaintiff after she

       complained of unlawful violations.

205.   Defendant Captain JASMIN’s actions created a policy or custom under which

       unconstitutional practices occurred.

206.   Defendant Captain JASMIN acted with intent and/or deliberate indifference towards

       the Plaintiff after she complained of unconstitutional violations and took steps to further

       harm the Plaintiff’s constitutional rights.

207.          Defendant Captain BRITTON also knew or should have known he was unlawfully

       discriminating against Plaintiff and failed to respond or address such actions in any

       way.



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208.        On information and belief, Defendant Captain JASMIN was personally involved

       in either ordering, or failing to take preventative and remedial measures to guard against

       the unconstitutional discrimination and retaliation against Plaintiff. Defendant Captain

       BRITTON also knew, or in the exercise of due diligence, should have known, that the

       unconstitutional actions taken against Plaintiff VEGA were discriminatory in nature

       and retaliatory.

209.        The failure of the individual supervisory Defendants to supervise and/or discipline

       any of the aforementioned Captains with respect to their unlawful discrimination and

       retaliatory actions amounted to gross negligence, deliberate indifference or intentional

       misconduct, which directly and proximately caused the injuries and damages to

       Plaintiff set forth herein.

                            AS A FOURTEENTH CAUSE OF ACTION
                            (EQUAL PROTECTION - 42 U.S.C. § 1983)

210.        Plaintiff incorporates all preceding paragraphs of this Complaint as if fully restated

       herein.

211.        Individual Defendant Captains JASMIN and BRITTON, were at all relevant times,

       supervising employees in the DOC, with oversight responsibility for the training,

       instruction and supervision of the Plaintiff.

212.        Defendant Captains JASMIN and BRITTON, failed to intervene to prevent the

       clearly discriminatory and retaliatory actions taken against Plaintiff.

213.        Defendant Captains JASMIN and BRITTON, actively participated in the clearly

       discriminatory and retaliatory actions taken against Plaintiff

214.        Defendant Captains JASMIN and BRITTON, actively condoned other officers to

       participate in the clearly discriminatory and retaliatory actions taken against Plaintiff

215.        Defendant Captains JASMIN and BRITTON also knew or should have known that

       their conduct was unlawfully discriminating against Plaintiff and failed to respond or


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       address such actions in any way.

216.        Upon information and belief, Defendant Captains JASMIN and BRITTON, were

       personally involved in either ordering or failing to take preventative and remedial

       measures to guard against the unconstitutional discrimination and retaliation against

       Plaintiff.

217.        Defendant Captains JASMIN and BRITTON knew, or in the exercise of due

       diligence, should have known, that the unconstitutional actions taken against Plaintiff

       was likely to occur.

218.        The failure of the individual supervisory Defendants to supervise and/or discipline

       any of the aforementioned Captains, officers, DOC prosecutors or other Defendants

       with respect to their unlawful discrimination and retaliatory actions amounted to gross

       negligence, deliberate indifference or intentional misconduct, which directly and

       proximately caused the injuries and damages to Plaintiff set forth herein.

                             AS A FIFTEENTH CAUSE OF ACTION
                           (EQUAL PROTECTIONS - 42 U.S.C. § 1983)

219.        Plaintiff incorporates all preceding paragraphs of this Complaint as if fully restated

       herein.

220.        The aforementioned sexual harassment Plaintiff was forced to endure at the hands

       of Supervisory Captain JASMIN amounts to gender discrimination.

221.        Supervisory Captain JASIM initially engaged Plaintiff by telling her “Feel how

       hard my dick is”.

222.        The ensuing acts of sexual harassment committed by Defendants were based on

       the Plaintiff’s gender.

                           AS A SIXTEENTH CAUSE OF ACTION
              (Monell Claim - 42 U.S.C. § 1983-As Against CITY/DOC Defendants)

223.        Defendants violated the above statute through multiple acts of unlawful gender



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       and disability discrimination, sexual harassment, and retaliation.

224.        Plaintiff incorporates all preceding paragraphs of this Complaint as if fully

       restated herein.

225.        All of the acts and omissions by the Captain Defendants described above, with

       regard to the unreasonable, unlawful, and retaliatory discrimination against Plaintiff

       were carried out pursuant to overlapping de facto policies and practices of the City of

       New York and it’s agency, which were in existence at the time of the conduct alleged

       herein and were engaged in with the full knowledge, consent, and cooperation and

       under the supervisory authority of Defendant The City Of New York Department Of

       Corrections.

226.        Defendant The City Of New York and it’s agency, The Department Of

       Corrections, by their policy-making agents, servants and employees, authorized,

       sanctioned and/or ratified the individual wrongful acts of Captains JASMIN and

       BRITTON and/or failed to prevent or stop those acts; and/or allowed or encouraged

       those acts to continue.

227.        The actions of Defendants Captain JASMIN and BRITTON resulted from and

       were taken pursuant to the de facto policies and/or well-settled and widespread

       customs and practices of the DOC. The relevant policies, customs and practices with

       regard to the disability and gender discrimination, and sexual harassment perpetrated

       against Plaintiff are that DOC Captains are permitted to discriminate against and

       unlawfully retaliate against DOC officers who make protected complaints based on

       sexual harassment.

228.        The existence of the foregoing unlawful de facto unwritten policies and/or well-

       settled and widespread customs and practices is known to be encouraged, and/or

       condoned by supervisory and policy-making officers and Captains of the DOC.



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229.        Notwithstanding knowledge of such an unlawful de facto unwritten policy,

       practice, and/or custom, these supervisory and policy-making officers and Captains of

       the DOC, have not taken steps to terminate this policy, practice, and/or custom, and

       do not properly train Captains with regard to acts of unlawful discrimination and/or

       unlawful retaliation, and instead sanction and ratify this policy, practice, and/or

       custom through their active encouragement of, deliberate indifference to, and/or

       reckless disregard of the effect of said policies, practices, and/or customs upon the

       constitutional rights of Plaintiff and other persons similarly situated to Plaintiff.

230.        The aforementioned DOC policy, practice, and/or custom of failing to supervise,

       train, instruct, and discipline Captains within the DOC is specifically exemplified and

       evidenced by the misconduct detailed herein.

231.        Plaintiff’s injuries were a direct and proximate result of the Defendant DOC’s

       wrongful de facto policy and/or well-settled and widespread custom and practice and

       of the knowing and repeated failure of Defendant DOC to properly supervise and train

       Captains with regard to unconstitutional discrimination and retaliatory conduct.

232.        Defendant DOC knew or should have known that the acts alleged herein would

       deprive Plaintiff of her rights in violation of the Fourteenth Amendment to the United

       States Constitution.

233.   Defendant DOC knew or should have known that the actions unlawful actions taken

       against the Plaintiff would occur since almost identical actions of Defendants were

       complained of in the past and nothing was done to remedy such unlawful behavior.

234.        Defendant DOC is directly liable and responsible for the acts of the individual

       Captain Defendants because it repeatedly and knowingly failed to properly supervise,

       train, and instruct them to require compliance with the constitutions and laws of the

       State of New York and the United States.



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                    AS A SEVENTEENTH CAUSE OF ACTION
         VIOLATION OF DUE PROCESS RIGHTS SECURED BY 42 U.S.C. § 1983
                  (As Against Defendants TYSON and JOHNSON)

235.   Plaintiff repeats and realleges each and every allegation contained in the preceding

       paragraphs of the Complaint as set forth at length herein.



236.   Plaintiff’s private interest was to remain employed at the DOC, not face additional

       retaliation for complaining and to be transferred.


237.   As set forth in preceding paragraphs, TYSON and JOHNSON possessed the tangible

       authority to have DOC Officers transferred and further possessed the authority to

       initiate a hearing and process in order to mitigate any further discrimination or

       retaliation by the other Defendants.

238.   TYSON and JOHNSON as Officers representing COBA should have taken affirmative

       steps to prevent unlawful conduct by JASMIN and the DOC and failed to do so.

239.   TYSON and JOHNSON act through COBA as willful participants in a joint activity

       with the DOC by working with the DOC to resolve disputes between officers, effectuate

       transfers, and to protect the safety and well being of DOC Officers.

240.   As a result of the actions taken above, TYSON and JOHNSON deprived the Plaintiff

       of her due process rights.




                    AS AN EIGHTEENTH CAUSE OF ACTION UNDER
               N.Y.C. ADMINISTRATIVE CODE §8-903-6 ALSO KNOWN AS
                 THE GENDER-MOTIVATED VIOLENCE ACT (“GMVA”)
                             (As Against Defendant Jasmin)


241.        Plaintiff repeats and realleges each and every allegation contained in the preceding

       paragraphs of the Complaint as set forth at length herein.



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242.        In relevant part, GMVA, N.Y.C. Code § 8-904 provides, “[A]ny person claiming

       to be injured by an individual who commits a crime of violence motivated by gender as

       defined in section 8-903 of this chapter, shall have a cause of action against such

       individual.”

243.        Section 8-903 defined “crime of violence” as “an act or series of acts that would

       constitute a misdemeanor or felony against the person as defined in state or federal

       law…if the conduct presents a serious risk of physical injury to another, whether or not

       those acts have actually resulted in criminal charges.”

244.        Section 8-903 also provides that such an act is “motivated by gender” if it is

       “committed because of gender or on the basis of gender, and due, at least in part, to an

       animus based on the victim’s gender.”

245.        In this case, Defendant Jasmin (i) committed an act that constituted a felony when

       (ii) he presented a serious risk of physical injury and did in fact physically injure the

       Plaintiff when he sexually assaulted Plaintiff (iii) on account of her gender, (iv) when

       sexual advances were rejected and Defendant Jasmin developed or already had an

       animus toward the Plaintiff’s gender, (v) which resulted in serious injury to the Plaintiff

       who was in fact a female.

246.        Defendant Jasmin is liable to the Plaintiff under the GMVA in which Plaintiff

       VEGA claims damages in an amount to be determined at trial.

                            AS A NINETEENTH CAUSE OF ACTION
                                FOR DISCRIMINATION UNDER
                         THE AMERICANS WITH DISABILITIES ACT
                      (not against individual Defendants (Against City/DOC)


247.        Plaintiff repeats and realleges each and every allegation made in the above

       paragraphs of this complaint.

248.        Plaintiff claims Defendants violated Title I of the Americans with Disabilities Act



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       of 1990 (Pub. L. 101-336) (ADA), as amended, as these titles appear in volume 42 of

       the United States Code, beginning at section 12101.

249.        SEC. 12112. [Section 102] specifically states “(a) General Rule. - No covered

       entity shall discriminate against a qualified individual with a disability because of the

       disability of such individual in regard to job application procedures, the hiring,

       advancement, or discharge of employees, employee compensation, job training, and

       other terms, conditions, and privileges of employment.”

250.        Defendants violated the above and Plaintiff suffered numerous damages as a

       result.

                             AS A TWENTEETH CAUSE OF ACTION
                                   FOR RETALIATION UNDER
                          THE AMERICANS WITH DISABILITIES ACT
                       (not against individual Defendants (Against City/DOC)

251.        Plaintiff repeats and realleges each and every allegation made in the above

       paragraphs of this complaint.

252.        SEC. 12203. [Section 503] states, “(a) Retaliation. - No person shall discriminate

       against any individual because such individual has opposed any act or practice made

       unlawful by this chapter or because such individual made a charge, testified, assisted,

       or participated in any manner in an investigation, proceeding, or hearing under this

       chapter.

253.   Defendants violated the above and Plaintiff suffered numerous damages as a result.



       WHEREFORE, Plaintiff demands the following relief jointly and severally against all

       Defendants:

                 (a) a declaration that Defendants violated Plaintiff’s federal and state civil
                 rights;

                 (d) compensatory damages for the injuries suffered by Plaintiff by reason of



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             Defendants’ unlawful and unjustified conduct, in an amount just and reasonable

             and in conformity with the evidence at trial in an amount to be determined at

             trial;

             (c) punitive damages against the individual Defendants assessed to deter such

             intentional and reckless deviations from well-settled constitutional standards, to

             the extent allowable by law;

             (d) damages for emotional distress, lost wages, back pay, front pay, statutory

             damages, medical expenses, interest;

             (d) reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988 and all
             other applicable laws; and

             (e) such other and further relief as appears just and proper.

                                         JURY DEMAND

             Plaintiff demands a trial by jury of all issues so triable pursuant to the Federal
      Rules of Civil Procedure.


      Dated: New York, New York
      February 27, 2020



                                                       L& D Law, P.C.
                                                       Liggieri & Dunisha

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